     Case 3:08-cr-00120-MMD-CLB                 Document 69   Filed 08/16/10    Page 1 of 5




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 6                                    UNITED STATES DISTRICT COURT

 7                                            DISTRICT OF NEVADA

 8                                       ***
                                         )
 9                                       )
     UNITED STATES OF AMERICA,           )
10                                       )                    3:08-CR-0120-LRH-VPC
                   Plaintiff,            )
11                                       )
     v.                                  )                    ORDER
12                                       )
     GLOBAL ONE GROUP, LLC; RICHARD      )
13   YOUNG; WILLIAM WILLARD; MAELEE )
     ENTERPRISES, INC.; and BADIE, INC., )
14                                       )
                   Defendants.           )
15                                       )

16          Before the court is defendants Richard Young (“Young”) and William Willard’s

17   (“Willard”) motion to disqualify the United States Attorney’s Office (“USAO”) for the District of

18   Nevada and to dismiss the superseding indictment. Doc. #58.1 The United States filed an

19   opposition (Doc. #63) to which defendants replied (Doc. #64).

20   I.     Facts and Background

21          On December 3, 2008, the grand jury for the District of Nevada returned a 38-count

22   indictment against defendants Global One Group (“Global One”); Young; Willard; Badie, Inc.; and

23   Maelee Enterprises. Global One is a Nevada limited liability company founded by Young and

24   Willard that provides information regarding trading techniques and opportunities on the Foreign

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26          1
                Refers to the court’s docket number.
      Case 3:08-cr-00120-MMD-CLB            Document 69        Filed 08/16/10     Page 2 of 5




 1   Exchange.

 2          The indictment charges defendants with multiple counts of mail fraud (18 U.S.C. § 1341),

 3   wire fraud (18 U.S.C. § 1343), conspiracy to commit mail and wire fraud (18 U.S.C. § 1349),

 4   laundering of monetary instruments (18 U.S.C. § 1956(a)(1)(B)(I)), engaging in money

 5   transactions in property derived from specified unlawful activity (18 U.S.C. § 1957), and aiding

 6   and abetting the commission of the above-referenced offenses (18 U.S.C. § 2). The indictment also

 7   sought forfeiture of all property which constitutes the proceeds or is derived from proceeds that are

 8   traceable to the above-referenced offenses pursuant to 18 U.S.C. §§ 981(a)(1)(A) and 981(a)(1)(c).

 9          After the indictment was returned, defendants Young and Willard separately contacted

10   current United States Attorney Dan Bogden (“USA Bogden”), who was engaged in private practice

11   at the time the indictment was handed down. Young and Willard allegedly inquired about

12   USA Bogden’s willingness and availability to defend either Young or Willard against the

13   indictment. Young and Willard further allege that they provided confidential information to USA

14   Bogden as part of these initial inquiries. USA Bogden declined to represent either defendant.

15          Subsequently, on September 15, 2009, USA Bogden was nominated for his current position

16   as the United States Attorney for the District of Nevada. After USA Bogden was confirmed, a

17   superseding indictment was returned against defendants on March 24, 2010, for multiple counts of

18   conspiracy (18 U.S.C. § 1349), wire fraud (18 U.S.C. § 1343), and engaging in money transactions

19   in property derived from specified unlawful activity (18 U.S.C. § 1957). The superseding

20   indictment was issued by Assistant United States Attorney Steven W. Myhre (“AUSA Myhre”) as

21   an attorney for the United States acting pursuant to 28 U.S.C. § 515.

22          Thereafter, defendants filed the present motion to disqualify the United States Attorney’s

23   Office (“USAO”) for the District of Nevada and to dismiss the superseding indictment. Doc. #58.

24   The court held a hearing and heard arguments by the parties on July 19, 2010. Doc. #66.

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     Case 3:08-cr-00120-MMD-CLB              Document 69        Filed 08/16/10       Page 3 of 5




 1   II.    Discussion

 2          A. Motion to Disqualify

 3          Defendants argue that the United States Attorney’s Office (“USAO”) for the District of

 4   Nevada should be disqualified from prosecuting this action because USA Bogden was privileged to

 5   confidential information prior to his appointment disqualifying him from representing the

 6   government and that the USAO’s office cannot effectively screen Bogden from this matter because

 7   he is the supervisor of the prosecuting attorneys. In opposition, the government argues that

 8   disqualification of an entire USAO is not mandated by any rule of professional conduct, nor is it

 9   required by any state or federal statute or case and that USA Bogden and the USAO have complied

10   with all screening and recusal requirements.

11          Initially, the court notes that “[t]here is no controlling standard in the Ninth Circuit for

12   imputation of a conflict where a private defense attorney joins a prosecutor’s office. In general,

13   Ninth Circuit authority has refused to extend cases that apply the imputed disqualification rule to

14   private law firms equally to government agencies.” United States v. Nosal, 2009 U.S. Dist. Lexis

15   14820, *8 (9th Cir. 2009). Further, there is no requirement that the court recuse an AUSA or a

16   USAO based on the imputed conflict from a new USA. Nosal, *12; see also, United States v.

17   Bolden, 353 F.3d 870, 876 (10th Cir. 2003) (“disqualifying an entire United States Attorney’s

18   Office is almost always reversible error regardless of the underlying merits of the case.”).

19          Additionally, based upon the representations of counsel at the hearing, the court finds that

20   USA Bogden submitted a recusal request that was approved on October 6, 2009, and that USA

21   Bogden has been screened from any involvement in the case since his appointment September 15,

22   2009. Further, USA Bogden has not (1) participated in any decision-making, (2) had any input on

23   the case, (3) reviewed prosecution memorandum, or (4) had any involvement in the case

24   whatsoever. Rather, Associate Deputy Attorney General David Margolis (“ADAG Margolis”)

25   directed and authorized AUSA Myhre to have the status and perform all of the authorized functions

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      Case 3:08-cr-00120-MMD-CLB              Document 69      Filed 08/16/10     Page 4 of 5




 1   of a United States Attorney with respect to the government’s case against Global One pursuant to

 2   28 U.S.C. § 515. Therefore, the court finds that USA Bogden has been effectively screened from

 3   any participation in this action and that recusal of an entire USAO is unnecessary and unwarranted.

 4   See Nosal, 2009 U.S. Dist. Lexis 14820, *8. Accordingly, defendants’ motion to recuse shall be

 5   denied.

 6             B. Motion to Dismiss Superseding Indictment

 7             Defendants also seek dismissal of the superseding indictment pursuant to Federal Rule of

 8   Criminal Procedure 7. Rule 7 requires that an indictment be signed by an attorney for the

 9   government. Fed. R Crim. Pro. 7(c)(1). Defendants argue that AUSA Myhre was without

10   authorization to issue the indictment.

11             An AUSA may sign an indictment if the AUSA is authorized by law to do so. See United

12   States v. Perholtz, 622 F. Supp. 1253, 1262 (D. D.C. 1985) (an authorized assistant may sign the

13   United States Attorney’s name). Pursuant to 28 U.S.C. § 515, any attorney specially appointed or

14   designated by the Attorney General may conduct any legal proceeding on behalf of the

15   government. 28 U.S.C. § 515(a).

16             Here, AUSA Myhre was properly designated as the acting United States Attorney by

17   ADAG Margolis after USA Bogden recused himself from participating in this action. Based on the

18   record before the court, the court finds that AUSA Myhre’s appointment was proper under 28

19   U.S.C. § 515. Thus, AUSA Myhre had authority to sign and issue the superseding indictment.

20   Accordingly, defendants’ motion to dismiss the superseding indictment shall be denied.

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     Case 3:08-cr-00120-MMD-CLB            Document 69       Filed 08/16/10     Page 5 of 5




 1          IT IS THEREFORE ORDERED that defendants’ motion to recuse the United States

 2   Attorney’s Office for the District of Nevada and dismiss the superseding indictment (Doc. #58) is

 3   DENIED.

 4          IT IS SO ORDERED.

 5          DATED this 16th day of August, 2010.

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 7                                                   __________________________________
                                                     LARRY R. HICKS
 8                                                   UNITED STATES DISTRICT JUDGE

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